Case 21-50032-LSS   Doc 11   Filed 04/08/21   Page 1 of 3
Case 21-50032-LSS   Doc 11   Filed 04/08/21   Page 2 of 3

                    EXHIBIT A
                                            Case 21-50032-LSS                       Doc 11                 Filed 04/08/21            Page 3 of 3
                                                                                                Exhibit A
                                                                                               Service List
                                                                                        Served as set forth below

                    Description                                     Name                                Address              Fax                          Email        Method of Service
Core Parties                                 Office of the United States Trustee   Attn: David L. Buchbinder          302-573-6497    david.l.buchbinder@usdoj.gov   Email
Office of the United States Trustee                                                Attn: Hannah Mufson McCollum                       hannah.mccollum@usdoj.gov
                                                                                   844 King St, Suite 2207
                                                                                   Lockbox 35
                                                                                   Wilmington, DE 19801
Notice of Appearance/Request for Notices     Pachulski Stang Ziehl & Jones LLP     Attn: James I. Stang               302-652-4400    jstang@pszjlaw.com             Email
Counsel to the Tort Claimants' Committee                                           10100 Santa Monica Blvd, 13th Fl
                                                                                   Los Angeles, CA 90067-4003
Notice of Appearance/Request for Notices     Pachulski Stang Ziehl & Jones LLP     Attn: Robert Orgel                 302-652-4400    rorgel@pszjlaw.com             Email
Counsel for the Tort Claimants' Committee                                          Attn: James O'Neill                                joneill@pszjlaw.com
                                                                                   Attn: John Lucas                                   jlucas@pszjlaw.com
                                                                                   Attn: Ilan Scharf                                  ischarf@pszjlaw.com
                                                                                   919 N Market St.,17th Floor
                                                                                   P.O. Box 8705
                                                                                   Wilmington, DE 19899-8705




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                               Page 1 of 1
